Case 3:17-cv-00072-NKM-JCH Document 156 Filed 12/18/17 Pagelof3 Pageid#: 694

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, JOHN DOE, JANE DOE 1, JANE
DOE 2, and JANE DOE 3,

Plaintiffs,
Vv.

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES Civil Action No. 3:17-cv-00072-NKM
ALEX FIELDS, JR., VANGUARD
AMERICA, ANDREW ANGLIN,
MOONBASE HOLDINGS, LLC, ROBERT
“AZZMADOR” RAY, NATHAN DAMIGO,
ELLIOT KLINE a/k/a/ ELI MOSELY,
IDENTITY EVROPA, MATTHEW
HEIMBACH, MATTHEW PARROTT a/k/a
DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS,
LEAGUE OF THE SOUTH, JEFF SCHOEP,
NATIONAL SOCIALIST MOVEMENT,
NATIONALIST FRONT, AUGUSTUS SOL
INVICTUS, FRATERNAL ORDER OF THE
ALT-KNIGHTS, MICHAEL “ENOCH”
PEINOVICH, LOYAL WHITE KNIGHTS OF
THE KU KLUX KLAN, and EAST COAST
KNIGHTS OF THE KU KLUX KLAN a/k/a
EAST COAST KNIGHTS OF THE TRUE
INVISIBLE EMPIRE,

 

Defendants.

 

NOTICE OF APPEARANCE
COME NOW David L. Campbell, Esquire, and David L. Hauck, Esquire, of the law firm of

DUANE, HAUCK, DAVIS & GRAVATT, P.C., and hereby file this Notice of Appearance as co-counsel
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and counsel of record on behaif of the Defendant, James Alex Fields, Jr., in the above-styled matter.
Respectfully submitted,

JAMES ALEX FIELDS, JR.
By Counsel

/s/ David L. Campbell
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CERTIFICATE OF SERVICE

[hereby certify that on 1814 day of December, 2017, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

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And | hereby certify that I will mail the document by U.S. mail to the following non-filing
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